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IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

CAGER A. MALEEAH,
Plaintiff,
Vv. CASE NO. CV418-096
DR. OLATUNJI AWE; DR. BROWN;
P.A. DARCY; NURSE TYLER; NURSE
EVANS, Now Anderson; NURSE

TERRY; NURSE GREEN; and MS.
RIVERS;

Defendants.

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ORDER

Before the Court is Plaintiff Cager A. Maleeah and Defendants
Dr. Olatunji Awe, Hanna Dorce!, Helen Tyler, Juanita Green, Deborah
Ivey-Terry, and Cynthia Rivers’s Stipulation of Dismissal with
Prejudice. (Doc. 162.) Pursuant to Federal Rule of Civil Procedure
4l1(a) (1) (A) (ii), a plaintiff may dismiss an action by filing “a
stipulation of dismissal signed by all parties who have appeared.”
Accordingly, the parties’ request (Doc. 162) is GRANTED and the
claims against Defendants Awe, Dorce, Tyler, Green, Ivey-Terry,
and Rivers are DISMISSED WITH PREJUDICE. As a result, Defendant
Awe’s Motions to Dismiss (Docs. 140, 160) and Motion to Stay

Discovery (Doc. 161) are DISMISSED AS MOOT. Each party shall bear

 

1 Defendant Dorce was misidentified as PA Darcy in Plaintiff’s
complaint. (Doc. 27 at 1n.1.)
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its own costs and attorneys’ fees. The Clerk of Court is DIRECTED
to amend the caption accordingly.

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SO ORDERED this Wek say of January 2021.

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WILLIAM T. MOORE, Jf
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
